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                             LEXSEE 147 FED. APPX. 716

               DALE E. McCORMICK, Plaintiff-Appellant, v. KEN FARRAR;
               BRANDON NELSON; JOSEPH MORRISON; SUTAGEE ANGLIN; JASON
            GREMS; JEREMY KLINE; TIRSA OTERO-VERDEJO; GARY BUNTING; ERIC
              SPURLING; RYAN ROBINSON; LOREN ANDERSON, in his official
                     capacity as Sheriff, Defendants-Appellees.

                                     No. 03-3131

               UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT


                    147 Fed. Appx. 716; 2005 U.S. App. LEXIS 18801

                               August 30, 2005, Filed

  NOTICE:   [**1]   RULES OF THE TENTH       Michelle      R.    Stewart,     Fisher,
  CIRCUIT COURT OF APPEALS MAY LIMIT         Patterson,   Sayler & Smith,    Overland
  CITATION   TO   UNPUBLISHED OPINIONS.      Park, KS.
  PLEASE REFER TO THE RULES OF THE
  UNITED STATES COURT OF APPEALS FOR         For           SUTAGEE            ANGLIN,
  THIS CIRCUIT.                              Defendants-Appellee: David P.    Madden,
                                             Michelle     R.    Stewart,      Fisher,
  SUBSEQUENT HISTORY: Costs and fees         Patterson, Sayler & Smith,      Overland
  proceeding at, Sanctions disallowed        Park, KS.
  by, Motion denied by McCormick v.
  Farrar, 2006 U.S. Dist. LEXIS 30545        For JASON GREMS, Defendants-Appellee:
  (D. Kan., May 10, 2006)                    David P. Madden, Michelle R. Stewart,
                                             Fisher, Patterson, Sayler & Smith,
  PRIOR      HISTORY:      (D.C.    No.      Overland Park, KS.
  02-CV-2037-GTV). (D. Kan.). McCormick
  v. Farrar, 2003 U.S. Dist. LEXIS 5066      For JEREMY KLINE, Defendants-Appellee:
  (D. Kan., Mar. 20, 2003)                   David P. Madden, Michelle R. Stewart,
                                             Fisher, Patterson, Sayler & Smith,
                                             Overland Park, KS.
  COUNSEL:   For:  DALE   E.   McCORMICK,
  Plaintiff-Appellant:       Dale      E.    For        TIRSA        OTERO-VERDEJO,
  McCormick, Hutchinson, KS.                 Defendants-Appellee: David P. Madden,
                                             Michelle [**2]    R. Stewart, Fisher,
  For KEN FARRAR, Defendants-Appellee:       Patterson, Sayler & Smith, Overland
  Randall F. Larkin, Gilliland & Hayes,      Park, KS.
  Lawrence,   KS.;  Gerald   L.   Cooley,
  Gilliland & Hayes, Lawrence, KS.           For GARY   BUNTING, Defendants-Appellee:
                                             David P.    Madden, Michelle R. Stewart,
  For           BRANDON            NELSON,   Fisher,    Patterson, Sayler & Smith,
  Defendants-Appellee: David P.    Madden,   Overland   Park, KS.
  Michelle     R.    Stewart,      Fisher,
  Patterson, Sayler & Smith,      Overland   For            ERIC          SPURLING,
  Park, KS.                                  Defendants-Appellee: David P. Madden,
                                             Michelle     R.     Stewart,   Fisher,
  For          JOSEPH          MORRISON,     Patterson, Sayler & Smith, Overland
  Defendants-Appellee: David P. Madden,      Park, KS.
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  For            RYAN          ROBINSON,         [*718]   BACKGROUND
  Defendants-Appellee: David P. Madden,
  Michelle     R.     Stewart,   Fisher,        On Saturday, January 22, 2000,
  Patterson, Sayler & Smith, Overland        McCormick was the subject of a traffic
  Park, KS.                                  stop by defendant Ken Farrar, a police
                                             officer with the Lawrence, Kansas,
  For LOREN ANDERSON, in his      official   police department. The stop culminated
  capacity          as            Sheriff,   in McCormick's arrest and transport to
  Defendants-Appellee: David P.    Madden,   the Douglas County Jail. According to
  Michelle     R.    Stewart,      Fisher,   McCormick,    he   sustained    several
  Patterson, Sayler & Smith,      Overland   injuries as a result of his encounter
  Park, KS.                                  with Farrar, including a broken thumb.
                                             He also alleges that, at the time of
  JUDGES:   Before   EBEL,   HENRY,    and   the traffic stop, he had a temperature
  MURPHY, Circuit Judges.                    of   [**4]    104   degrees   and   was
                                             suffering from the flu. He further
  OPINION BY: Michael R. Murphy              alleges   that   Farrar   refused   his
                                             requests    for   medical    attention,
  OPINION:                                   including that he be taken to the
                                             hospital.
      [*717]   ORDER AND JUDGMENT *
                                                During the trip to the jail on the
                                             night of January 22, Farrar told
           * This order and judgment is      McCormick that he was going to charge
       not   binding  precedent,   except    McCormick   with  battery  on  a   law
       under the doctrines of law of the     enforcement officer and that, pursuant
       case,     res    judicata,     and    to a jail policy, McCormick would not
       collateral estoppel. The court        be able to post bond until the
       generally disfavors the citation      following Monday, January 24, when he
       of     orders   and     judgments;    would be able to see a judge. When
       nevertheless,   an    order    and    they arrived at the jail, Farrar
       judgment may be cited under the       charged McCormick with battery on a
       terms and conditions of 10th Cir.     law enforcement officer.
       R. 36.3.
                                                 McCormick alleges that he began
   [**3]                                     requesting medical attention as soon
                                             as he came into contact with the jail
     Pro se plaintiff Dale E. McCormick      employees on the night of January 22.
  appeals the district court's dismissal     He    further   alleges   that,   before
  of his 42 U.S.C. § 1983 civil rights       leaving the jail, Farrar spoke with
  action. We have jurisdiction under 28      each     of   four    jail    employees,
  U.S.C. § 1291, and we AFFIRM. n1           defendants    Sutagee   Anglin,   Joseph
                                             Morrison, Brandon Nelson, and Jason
                                             Grems,    and   requested   that   these
          n1 After examining the briefs      defendants not provide McCormick with
       and appellate record, this panel      any medical attention during his time
       has determined unanimously that       in the jail, and that these defendants
       oral     argument     would     not   implicitly or expressly agreed to do
       materially        assist        the   so.
       determination of this appeal. See
       Fed. R. App. P. 34(a)(2); 10th           In keeping with this agreement,
       Cir. R. 34.1(G). The case is          Anglin, Morrison, Nelson, and Grems
       therefore     ordered     submitted   allegedly refused to take McCormick to
       without oral argument.                the jail nurse, [**5]      refused to
                                             provide him with any other medical
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  attention and refused to take him to          kept in jail until about 5:00 p.m. on
  the hospital. According to McCormick,         January 24, when he had his probable
  at the next shift change, these four          cause hearing before the judge.
  defendants      communicated        with
  defendants    Gary     Bunting,    Tirsa         McCormick's complaint contains four
  Otero-Verdejo,   and     Jeremy   Kline,      claims. In Count I, "Unreasonable
  conspiring to continue to deprive             Seizure/Malicious            Prosecution,"
  McCormick    of    medical    treatment.      McCormick alleges that from January
  McCormick asserts that when he was            22, 2000, through January 24, 2000,
  processed into jail at 2:00 a.m. on           Farrar charged McCormick with a Class
  January 23, Kline recorded on jail            A   misdemeanor     (battery   on   a   law
  forms that McCormick had an injured           enforcement officer), without probable
  thumb and the flu and was dehydrated,         cause, which resulted in McCormick's
  but that Kline did nothing to respond         unlawful detention until January 24,
  to McCormick's requests for medical           2000. In Count II, "Section 1983
  attention.                                    Conspiracy," McCormick [**7]        asserts
                                                that each defendant, except Sheriff
     At about 6:00 a.m. on Sunday,              Loren Anderson, conspired to deprive
  January 23, McCormick was transferred         McCormick of medical attention. In
  from a holding cell to a regular jail         Count III, "Unconstitutional Practice
  cell and was placed in the care of            or Custom," McCormick asserts that
  defendant   Eric  Spurling.  McCormick        Sheriff Anderson violated McCormick's
  alleges that Bunting and Otero-Verdejo        rights    by    maintaining      a   policy
  communicated with Spurling and that           requiring    McCormick    to    spend   the
  Spurling agreed to continue to deprive        weekend in jail because he was charged
  McCormick    of   medical   attention.        with battery on a law enforcement
  McCormick asserts that he informed            officer. In Count IV, "Deliberate
  Spurling that his thumb was broken and        Indifference      to    Medical     Needs,"
  that he was in immense pain, but that         McCormick asserts that all defendants,
  Spurling refused to take McCormick to         except Farrar and Anderson, refused to
  the nurse or to otherwise provide any         provide     McCormick      with     medical
  care or treatment for him.                    treatment     for     his    serious    and
                                                potentially life-threatening injuries,
     Over the next three shift changes          in violation of the Eighth Amendment.
  on January 23, McCormick asserts that         n2
  defendants [**6]      John Doe 1, Ryan
  Robinson, and John Doe 2 continued the
  express   or    implied    agreement     to            n2 At the time of defendants'
  deprive     McCormick       of      medical        alleged deliberate indifference,
  attention, and that they all denied                McCormick was a pretrial detainee
  his requests for medical attention.                and    not   a  sentenced   inmate.
  McCormick's complaint alleges that two             Construing his pro se pleadings
  shift changes occurred at 11:00 p.m.               liberally, Haines v. Kerner, 404
  on   January     23.    In     the    first        U.S. 519, 520, 30 L. Ed. 2d 652,
  11:00-p.m.-shift-change paragraph of               92    S.   Ct.  594   (1972)   (per
  the complaint, McCormick asserts that              curiam), we consider Count IV to
  John Doe 2 replaced Robinson. In the               be raised pursuant to the Due
  second           11:00-p.m.-shift-change           Process Clause of the Fourteenth
  paragraph,    the    complaint       [*719]        Amendment,     not    the    Eighth
  states that Jason Grems replaced John              Amendment. See Bell v. Wolfish,
  Doe 2. McCormick alleges that it was               441 U.S. 520, 535 n.16, 60 L. Ed.
  not until approximately 3:30 p.m. on               2d 447, 99 S. Ct. 1861 (1979).
  Monday,   January    24,   that    he   was
  finally taken to see the nurse at the          [**8]
  jail. McCormick asserts that he was
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     McCormick filed his complaint on        inapplicable to § 1983 suits. Cf.
  January 24, 2002, two years after the      Thomas [*720] v. Denny's, Inc., 111
  last day of the three-day confinement      F.3d 1506, 1513-14 (10th Cir. 1997)
  giving   rise   to  his   claims.   The    (holding continuing violation theory
  district court found that the claims       inapplicable   to   §   1981   claims).
  were barred by the applicable statute      Rassam, the case relied on by the
  of limitations because, based on the       district court, is an unpublished
  allegations    in     his    complaint,    order    and  judgment   and   has   no
  McCormick knew or had reason to know,      precedential value. See 10th Cir. R.
  prior to January 24, 2000, of the          36.3(A). In any event, we simply
  injuries that would form the basis for     observed in Rassam that the doctrine
  his causes of action. See Johnson v.       "is   to   be  narrowly  applied"   and
  Johnson County Comm'n Bd., 925 F.2d        declined to apply it to the facts of
  1299, 1301 (10th Cir. 1991). The court     that case. 1997 U.S. App. LEXIS 11362,
  therefore     dismissed     McCormick's    1997 WL 253048 at *3. [**10]
  complaint for failure to state a claim
  upon which relief could be granted            McCormick argues on appeal that the
  because he failed to file suit within      district court erred in not applying
  two years of the date when he knew of      the continuing violation doctrine to
  his injury. See id. (explaining that       save all of his claims from being
  the appropriate statute of limitations     barred by the statute of limitations.
  for § 1983 actions arising in Kansas       This   court    first    recognized    and
  is two years pursuant to Kan. Stat.        applied    the    continuing     violation
  Ann. § 60-513(a)(4)). We review de         doctrine in the Title VII context.
  novo the district court's dismissal        See, e.g., Rich v. Martin Marietta
  for failure to state a claim. Sutton       Corp., 522 F.2d 333, 348 n.15 (10th
  v. Utah State Sch. for the Deaf &          Cir. 1975). In Rich, we described the
  Blind, 173 F.3d 1226, 1236 (10th Cir.      doctrine as a "general rule that has
  1999).                                     evolved   in   the    Circuits    that   a
                                             plaintiff    alleging      a    continuing
     DISCUSSION                              violation   of   Title    VII   may   file
                                             charges with the EEOC at any time
     McCormick     argued   before     the   during which the alleged continuing
  district court that his claims should      violation has taken place." Id. We
  survive because they involved [**9]        have explained, however, that "there
  continuing injuries that did not end       must be at least one instance of the
  until January 24, 2000. The district       discriminatory    practice    within   the
  court construed this as an argument        filing   period    for   the    continuing
  for the application of the continuing      violation theory to apply." Furr v.
  violation doctrine. The district court     AT&T Techs., Inc., 824 F.2d 1537, 1543
  then rejected this argument because it     (10th Cir. 1987).
  concluded, based upon an unpublished
  decision of this court, that the              In Pike v. City of Mission, 731
  continuing violation doctrine is not       F.2d 655, 660 (10th Cir. 1984) (en
  applicable to § 1983 cases. McCormick      banc), the plaintiff filed a suit
  v. Farrar, 2003 U.S. Dist. LEXIS 5066,     pursuant to § 1983 arising out of a
  No. 02-2037-GTV, 2003 WL 1697686, at       termination that took place outside of
  *4    (D.    Kan.    Mar.   20,    2003)   the limitations period, arguing that
  (unpublished) (citing Rassam v. San        the defendants continued to deny him
  Juan College Bd., 1997 U.S. App. LEXIS     reinstatement   and   [**11]   a   due
  11362, No. 95-2292, 1997 WL 253048, at     process hearing, and continued to
  *2-*4 (10th Cir. May 15, 1997)). This      maintain employment records reflecting
  court has not, however, announced a        that he was discharged for cause. We
  precedential blanket rule that the         declined to apply the doctrine in that
  continuing    violation   doctrine    is   case because "a plaintiff may not use
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  the continuing violation theory to                 McCormick initially mentioned this
  challenge     discrete    actions    that      alleged typographical error in the
  occurred    outside    the    limitations      brief he filed in response to Farrar's
  period even though the impact of the           motion to    [*721]   dismiss. At that
  acts continues to be felt." Id.; see           point, he could have filed an amended
  also Bergman v. United States, 751             complaint without seeking leave from
  F.2d 314, 317 (10th Cir. 1984) ("A             the    district   court    because  no
  continuing violation is occasioned by          responsive pleading had been filed and
  continual    unlawful    acts,   not   by      the district court had not yet ruled
  continual    ill    effects    from   the      on the motions to dismiss. See [**13]
  original   violation."    (citation   and      Fed. R. Civ. P. 15(a); Glenn v. First
  quotation omitted)). Assuming, without         Nat'l Bank, 868 F.2d 368, 370 (10th
  deciding,      that    the     continuing      Cir. 1989). McCormick took no action
  violation doctrine applies to § 1983           to amend his complaint, either before
  actions, the doctrine does not save            or after the district court ruled on
  any of McCormick's claims from being           the motion to dismiss.
  time-barred.
                                                    Because this matter is before us on
     Count II (Conspiracy) and Count IV          a Fed. R. Civ. P. 12(b)(6) motion to
  (Deliberate Indifference)                      dismiss,    we   cannot     look   beyond
                                                 McCormick's complaint. See Sutton, 173
      To apply the continuing violation          F.3d at 1236 ("The court's function on
  doctrine, there must be at least one           a Rule 12(b)(6) motion is . . . to
  act    within    the    statutory     filing   assess     whether     the    plaintiff's
  period. See Furr, 824 F.2d at 1543;            complaint alone is legally sufficient
  see also Nat'l R.R. Passenger Corp. v.         to state a claim for which relief may
  Morgan, 536 U.S. 101, 117, 153 L. Ed.          be   granted."   (quotation    omitted)).
  2d 106, 122 S. Ct. 2061 (2002)                 McCormick has never filed an amended
  ("Provided that an act contributing to         complaint     containing     a    factual
  the claim occurs within the filing             allegation that the final shift change
  period, the entire time period [**12]          occurred on January 24, nor has he
  of the hostile work environment may be         filed a motion seeking to amend his
  considered by a court for the purposes         complaint. In the absence of this
  of        determining         liability.").    allegation, McCormick has failed to
  McCormick's complaint fails to include         state a conspiracy claim because all
  any allegations in the deliberate              of the overt acts set out in his
  indifference    and    conspiracy     claims   factual allegations took place outside
  that any of the defendants acted on            the statute of limitations period. The
  January 24, 2000. McCormick asserts in         same   is   true   for   the   deliberate
  his appellate brief that there is a            indifference claims asserted against
  typographical error in his complaint           each individual defendant. As to these
  and that Jason Grems and John Doe 2            claims, the complaint [**14] contains
  acted on January 24. In response, the          only   the   general    allegation   that
  appellees argue that McCormick has             McCormick was denied medical care on
  never amended his complaint to correct         January 24 until he saw a nurse at
  the     alleged     error,     even    after   3:00 p.m.
  McCormick became aware of the error
  when he received defendants' motions              McCormick argues that his pro se
  to dismiss. McCormick replies that he          pleading should be construed liberally
  was   not    obligated     to    amend   his   and that he remedied any defect in his
  complaint because all he had to do was         complaint by informing the district
  inform the district court of his               court of the alleged typographical
  error,    which    he   did.    McCormick's    error. The cases upon which McCormick
  failure to amend his complaint is              relies, however, provide no support
  fatal to these two claims.                     for his argument. See, e.g., Hall v.
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  Bellmon, 935 F.2d 1106, 1110 n.3 (10th       1994) [**16] (malicious prosecution),
  Cir.   1991)  (holding   that  pro   se      in    light     of     Mr.     McCormick's
  litigants should be "given reasonable        characterization of the injury he
  opportunity to remedy the defects in         [*722] suffered under Count I: "being
  their pleadings"). The record clearly        seized . . . without probable cause,
  demonstrates that McCormick was aware        for two days." Aplt. Br. at 11. We
  of the alleged typographical error           conclude   that    the    district   court
  when he filed his brief in opposition        properly found Count I to allege a
  to appellants' motions to dismiss. At        deprivation     of      liberty     (false
  that point in the proceedings, he            arrest/false    imprisonment),     not   a
  could   have  amended   his   complaint      deprivation of a right to be free from
  without the permission of the district       unjustifiable    litigation     (malicious
  court. See Glenn, 868 F.2d at 370            prosecution), 52 Am. Jur. 2d Malicious
  (holding that "Appellants could have         Prosecution § 4.
  amended    as of   right   after   they
  received the motion to dismiss and               In order to overcome the district
  prior to the trial court's decision").       court's    dismissal    on   statute   of
  McCormick had a reasonable opportunity       limitations grounds, McCormick argues
  to amend his complaint to correct the        that we should apply the continuing
  alleged typographical error yet failed       violation doctrine because the injury
  [**15]    to do so. Accordingly, we          he suffered continued from January 22
  affirm the district court's dismissal        until    his   imprisonment    ended   on
  of Counts II and IV of McCormick's           January 24. Farrar, the only defendant
  complaint on statute of limitations          named in this claim, was the arresting
  grounds.                                     officer, who charged McCormick with
                                               battery on a law enforcement officer.
     Count        I         (Unreasonable      Although the alleged actions of Farrar
  Seizure/Malicious Prosecution)               may have had a continuing impact for
                                               McCormick,    the   false    arrest/false
      McCormick first argues that the          imprisonment claim involved a discrete
  district court erred in finding Count        act that began and ended on January
  I to be an unreasonable seizure and          22.    McCormick     cannot    use    the
  false arrest and/or false imprisonment       continuing     violation     theory    to
  claim,     instead    of   a   claim   for   challenge a discrete act that occurred
  malicious prosecution. We disagree. In       outside of the [**17]         limitations
  Pierce v. Gilchrist, 359 F.3d 1279,          period even though the impact of the
  1286 (10th Cir. 2004), this court            act continued. Pike, 731 F.2d at 660;
  explained that since 1978, courts have       see also Robinson v. Maruffi, 895 F.2d
  used the common law elements of torts        649, 655 (10th Cir. 1990) ("Discrete
  as      the     starting     point     for   claims of [false arrest and false
  consideration of § 1983 constitutional       imprisonment],    despite   their   being
  tort claims. The "common law" is not         averred as a continuing wrong, have
  limited to the formulation provided by       been held barred where outside the
  the state in which the tort occurred,        time    bar.").    Moreover,    McCormick
  and satisfaction of each element of          essentially concedes in his reply
  the    common    law   tort   is   not   a   brief that the continuing violation
  prerequisite to consideration of the         doctrine does not apply to this claim
  federal constitutional question. Id.         because    he   acknowledges   that   his
  at 1287-88. Nevertheless, we have            injury was caused by a "singular
  considered the state law formulation         unlawful    act"   as   opposed   to   "a
  of the two torts at issue, Brown v.          continuing sequence of unlawful acts."
  State, 261 Kan. 6, 927 P.2d 938, 940         Reply Br. at 9. We therefore affirm
  (Kan.     1996)     (false   arrest/false    the district court's conclusion that
  imprisonment); Lindenman v. Umscheid,        Count I is barred by the applicable
  255 Kan. 610, 875 P.2d 964, 974 (Kan.        statute of limitations.
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  Unconstitutional   Practice   or   Custom   applied to him within the statutory
  (Count III)                                 filing period. See Bruno, 829 F.2d at
                                              961; Furr, 824 F.2d at 1543; see also
     McCormick   asserts   that   Sheriff     Courtney v. LaSalle Univ., 124 F.3d
  Anderson      allegedly       designed,     499, 506 (3d Cir. 1997) ("The time for
  maintained,    or     implemented    an     filing   a   charge   [on    a  facially
  unconstitutional practice or custom at      discriminatory policy [**19]      claim]
  the Douglas County Jail by mandating        runs from the most recent application
  that persons charged with certain           of the policy to plaintiff . . . ."
  offenses, including battery on a law        (emphasis added)). Here, the policy
  enforcement officer, be denied the          was applied to McCormick on January
  opportunity to post bond until they         22, when he was charged with battery
  appear before a judge, while persons        on a law enforcement officer, thereby
  charged with other types of offenses,       preventing him from being able to post
  including felony [**18] offenses, are       bond   [*723]   according to a pre-set
  allowed to post bond according to a         bond schedule; and, instead, requiring
  pre-set bond schedule. The district         that he be detained until he could
  court dismissed this claim because the      appear before a judge. The fact that
  face of McCormick's complaint reveals       he had to remain in jail until January
  that he was informed on January 22,         24 is simply the continuing effect of
  that, pursuant to a jail policy, he         the application of the policy on
  would not be able to post a bond until      January 22. As we discussed above, the
  the following Monday when he would be       continuing violation doctrine is for
  able to see a judge. Again, McCormick       continual   unlawful    acts,  not   the
  argues that the continuing violation        continual ill effects of those acts.
  doctrine applies to this claim because      The district court was correct in
  he was injured by being held in jail        determining    that    Count   III    of
  pursuant to the policy until January        McCormick's complaint is barred by the
  24. We disagree.                            statute of limitations.

     The continuing violation doctrine           Accordingly, we AFFIRM the district
  can be applied to a situation where a       court's    judgment    dismissing   the
  plaintiff alleges that there is a           complaint.    McCormick's   motion   to
  continuing policy of discrimination.        proceed in forma pauperis is GRANTED.
  See, e.g., Bruno v. W. Elec. Co., 829
  F.2d 957, 960-61 (10th Cir. 1987);             Entered for the Court
  Furr, 824 F.2d at 1543. For it to
  apply in this case, however, McCormick         Michael R. Murphy
  must   be  able  to   show  that   the
  allegedly unconstitutional policy was          Circuit Judge
